¥

ofZ

€
pee

Help Save Chintpanzees ronOissour) Biimate F éundatien Page

ANIMALS ARE NOT OURS

TO EAT, WEAR, EXPERIMENT ON, USE FOR
ENTERTAINMENT, OR ABUSE IN ANY OTHER WAY..

Missouri Primate Foundation Is a Foul End for Chimpanzees

The grandiosely named Missouri Primate Foundation (MPF) is actually the filthy home of a woman named Connie Braun Casey,
Sixteen chimpanzees are kept in cages in the house and basement and in an addition built onto her home. Other species of
primates are kept in comcribs on the property. Many of the chimpanzees were bred at MPF and used in the entertainment industry.
Some were kept as “pets.” ,

’ Two chimpanzees are képt in what appears to be a converted bedroom. They have no direct access to the outdoors.

The other 14 chimpanzees are kept in the basement and another prison-like addition to the home. Most of the chimpanzees don't
have free access to the outdeers and none of the cages provides any meaningful opportunity to climb or exercise. None of the
chimpanzees is allowed outdoors in the winter.

PETA and a long-time volunteer at the facility have sent notice of their intent to sue—a legal prerequisite to a lawsuit under the
Endangered Species Act (ESA)—alleging that keeping chimpanzees in isolation; confining them to cramped, barren enciosures; and
denying many of them the ability to engage in natural behavior violates the ESA. We have also appealed to Casey to retire the
chimpanzees to accredited sanctuaries where they would be able to experience a more natural life.

Cockroaches and Biting Flies

Conditions at MPF are dire. The chimpanzees regularly live amid frash and their own waste, An eyewitness reports that MPF is
crawling with cockroaches and horseflies. The stench of urine in one room was so overwhelming that the volunteer couldn't enter, i
and when Casey exited, she was coughing. Nine large dogs who also live on the property agitate the chimpanzees by barking and
lunging at them. All of the chimpanzees are missing hair, jikely from pulling it out in response to the stress of their living conditions.

The U.S. Department of Agriculture has repeatedly cited and issued an official warning to MPF for failing to clean enclosures and
allowing waste to build up and create a harmful ammonia stench. MPF has also been cited for failing to provide for the i
chimpanzees’ psychological and physical well-being by offering adequate environmental enrichment.

Reportedly, MPF does not have any employees, and the daily care of these endangered animals falls to Casey, whose funds are
severely limited, and a few inadequately trained and relatively inexperienced volunteers. The chimpanzees reportedly receive only
minimal veterinary care, even when health issues are urgent.

MPF has bred chimpanzees {o sell for profit and apparently takes no steps to prevent chimpanzees from breeding. In 2009, Casey
toid a reporter that she had sold “about 15 io 20” chimpanzees.

Travis, the chimpanzee who, in 2009, ripped off the face and hands of a Connecticut woman, was born at MPF and later sala

Casey as a “pet.” EXHIBIT

http:/Awww.peta.org/features/missouri-primate-foundation-chimpanzees/
Help-Save Chimpanzees from Missourl Primate Foundation Page’2 of 3

Hallmark's Culpabiility

Connor was only about 10 years oid when he reportedly snapped while being used in phofo ops for Halimark cards. He bit Mike
Casey (Connie’s ex-husband and former business partner), threw tables around the room, and tried to attack three other peeple.
Mike Casey had reportedly been physically and verbally abusive with the chimpanzees, including Connor. Hallmark greeting cards
featuring Connor's image are still being sold in stores today.

Saved From Heartbreak ‘Hotel’

Lisa Marie was born at MPF, taken from her mother and shipped to an Elvis impersonator in Chicago when she was barely a month
oid. She was used in the performer's shows and taken to schools, parks, and nursing homes. When Lisa Marie wasn't being hauled
around—she was once faken to a promotional event in a solid Rubbermaid-type bin—she was often relegated to a tiny cage ina
cramped basement and forced to wear a collar with a padlock on it. In 2009, Lisa Marie Presley wrote to the chimpanzee’s owners
and urged them to let the suffering animal retire to a reputable sanctuary. They never responded.

In 2015, thanks to a generous PETA patron, Lisa Marie was finally rescued and transferred to the lush, spacious Save the Chimps
sanctuary in Fort Pierce, Florida. Today, she is thriving in a large chimpanzee family.

Still Waiting for Relief

Tammy, believed to be Lisa Marie's mother, is still imprisoned at MPF. Tammy is believed to be in her early 30s—siill in her
prime—but reportedly, she looks sickly, her teeth are a mess, she obsessively avergrooms herself, and she appears to be wasting
away.

According fo the former MPF voiunteer, after each of Tammy's babies was taken away from her, she screamed and tore her cage
apart, looked for them under her blanket, and then curled up in a blanket for days with no appetite. If the MPF chimpanzees are |
retired, there's a chance that Tarmmy could be reunited with one of her babies. id

Conner, Lisa Marie, and Tammy are only three of the chimpanzees who have suffered, or continue to suffer, at MPF, The facllity is
failing primates in every way.

Speak up today and urge Braun to release ail the chimpanzees to an accredited sanctuary.

Please call and send polite comments to;

http://www. peta.org/ features/missouri-primate-foundation-chimpanzees/ 12/18/2016
Help Save Chittpanzees fenPM issoull Primate Foundation: 12/30/16 Page: 3 of 3 Pagelyd*3 643

Connie Braun
636-931-8411
Chimparty@aol.com

TELL HALLMARK CARDS TO STOP EXPLOITING
CHIMPANZEES!

(http://www. peta.org)

People for the Ethical Treatment of Animals
501 Front St, Norfolk, VA 23510 | 757-622-PETA (7382) | 757-622-0457 (fax)
PETA is a nonprofit, tax-exempt 501(c)(3} corporation (tax ID number XX-XXXXXXX).

http:/Awww.peta.org/features/missouri-primate-foundation-chimpanzees/ 12/18/2016
